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                       UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF MASSACHUSETTS
__________________________________________
                                                :
COMMONWEALTH OF MASSACHUSETTS,                  :
                                                :
                  Plaintiff,                    :
                                                :
          v.                                    :
                                                :
UNITED STATES DEPARTMENT OF                     :
HEALTH AND HUMAN SERVICES;                      :
ALEX M. AZAR II, in his official capacity as    : Case No. 17-cv-11930-NMG
Secretary of Health and Human Services;         :
UNITED STATES DEPARTMENT OF THE                 :
TREASURY; STEVEN T. MNUCHIN, in his             :
official capacity as Secretary of the Treasury; :
UNITED STATES DEPARTMENT OF                     :
LABOR; and EUGENE SCALIA, in his                :
official capacity as Secretary of Labor,        :
                                                :
                  Defendants.                   :
__________________________________________:

                    COMMONWEALTH’S SUPPLEMENTAL BRIEF

       Since 2017, the Commonwealth of Massachusetts has sought to prevent the acknowledged

harms to women that will result from the Final Religious and Moral Exemption Rules promulgated

by the defendants, the Secretaries of the U.S. Departments of Health and Human Services

(“HHS”), Labor, and the Treasury, as well as their respective Departments (hereinafter

“Departments”). See 83 Fed. Reg. 57536 (Nov. 15, 2018) (“Religious Exemption Rule”); 83 Fed.

Reg. 57592 (Nov. 15, 2018) (“Moral Exemption Rule”). Far from a tailored accommodation for

certain organizations with religious or moral objections to the Affordable Care Act’s (“ACA”)

contraceptive mandate, the Final Rules create an overbroad set of exemptions for employers and

universities nationwide, while simultaneously eliminating the Departments’ access to information

necessary to enforce the contraceptive mandate. While the ACA affords the Departments


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discretion to adopt accommodations for those with sincerely held religious or moral objections to

contraception, see Little Sisters of the Poor Saints Peter and Paul Home v. Pennsylvania, 140

S. Ct. 2367 (2020), it does not authorize the Departments to promulgate rules that are arbitrary or

capricious or that violate the Constitution. The Final Rules must be set aside and declared invalid

because they continue to violate the Establishment Clause of the First Amendment, the equal

protection component of the Fifth Amendment, and the protections against arbitrary and capricious

rulemaking guaranteed by the Administrative Procedure Act (“APA”).

                                         ARGUMENT

I.     Three of the Commonwealth’s Claims Remain After Little Sisters.

       In its Second Amended Complaint, the Commonwealth asserted that the Final Rules are

unlawful in several distinct ways. See Docket No. 106 (hereinafter “Compl.”) ¶¶ 84-114. Count 1

alleged that the Final Rules were not issued in accordance with the rulemaking provisions of the

APA. See Compl. ¶¶ 84-93. Count II alleged that the Final Rules exceed the Departments’

authority under the ACA, and that they are arbitrary and capricious, in violation of the APA, 5

U.S.C. § 706(2)(A). See Compl. ¶¶ 94-101. Count III alleged that the Final Rules violate the

Establishment Clause of the First Amendment. See Compl. ¶¶ 102-07. And Count IV alleged that

the Final Rules violate the equal protection guarantee implicit in the Due Process Clause of the

Fifth Amendment. See Compl. ¶¶ 108-14.

       In Little Sisters of the Poor Saints Peter and Paul Home v. Pennsylvania, issued in July,

the Supreme Court addressed two of these claims—specifically, the claims that the Final Rules

exceed the Departments’ authority under the ACA and that they violate the rulemaking provisions

of the APA. With respect to the former claim, the Court held the Women’s Health Amendment of

the ACA, 42 U.S.C. § 300gg-13(a)(4), “grants sweeping authority to [the Health Resources and



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Services Administration (‘HRSA’)] to craft a set of standards defining the preventive care that

applicable health plans must cover” for women, and at the same time authorizes HRSA “to identify

and create exemptions from its own Guidelines.” Little Sisters, 140 S. Ct. at 2380. Thus, the Court

concluded that the Final Rules do not exceed the Departments’ authority under the ACA. Id. at

2381-82. With respect to the latter claim, the Court held that the Final Rules were “free from

procedural defects” because they “complied with the maximum procedural requirements that

Congress was willing to have the courts impose upon agencies in conducting rulemaking

procedures.” Id. at 2386 (internal quotation marks and alterations omitted). The Court therefore

reversed the judgment of the Court of Appeals for the Third Circuit and remanded for further

proceedings consistent with its opinion. Id.

       Justice Kagan, joined by Justice Breyer, concurred in the judgment but wrote separately to

explain that she “question[s] whether the exemptions” in the Religious and Moral Exemption Rules

“can survive administrative law’s demand for reasoned decisionmaking.” Id. at 2397 (Kagan, J.,

concurring in the judgment). “That issue,” she explained, “remains open for the lower courts to

address” on remand. Id.1 In particular, she pointed out that there exists a “mismatch” between the

scope of the exemptions in the rules “and the problem the agencies set out to address.” Id. at 2398-

2400. A “careful agency,” Justice Kagan wrote, must weigh “the benefits of exempting more

employers from the mandate against the harms of depriving more women of contraceptive

coverage.” Id. at 2400. And those harms are real: all parties to the case embraced the HRSA finding

that the contraceptive “mandate is ‘necessary for women’s health and well-being,’” but, by the

Departments’ own calculations, the Final Rules will cause tens of thousands of women of


   1  Indeed, counsel for Little Sisters conceded at argument that a ruling in its favor would not
“foreclose” a “separate APA challenge” “to the scope of the exemption.” Tr. at 37, Little Sisters
of the Poor Saints Peter and Paul Home v. Pennsylvania (No. 19-431).

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childbearing age to lose their contraceptive coverage. Id. at 2399 (quoting HRSA, Women’s

Preventive Services Guidelines (Dec. 2019), www.hrsa.gov/womens-guidelines-2019). Because

the Departments did not make a meaningful effort to undertake that balancing, Justice Kagan

wrote, “the exemptions HRSA and the Departments issued give every appearance of coming up

short” under the APA’s arbitrary and capricious standard. Id. at 2398 (Kagan, J., concurring in the

judgment).

       Consequently, following Little Sisters, three of the Commonwealth’s claims in this case

remain—the claims that the Final Rules (1) violate the APA because they are arbitrary and

capricious, (2) violate the Establishment Clause, and (3) violate the Constitution’s guarantee of

equal protection under the law.

II.    The Final Rules Must Be Set Aside as Arbitrary and Capricious.

       “Federal administrative agencies are required to engage in ‘reasoned decisionmaking.’”

Michigan v. EPA, 576 U.S. 743, 750 (2015) (quoting Allentown Mack Sales & Service, Inc. v.

NLRB, 522 U.S. 359, 374 (1998)). To meet this requirement, an agency must always “articulate a

satisfactory explanation for its action[s].” Motor Vehicle Mfrs. Ass’n of United States, Inc. v. State

Farm Mut. Automobile Ins. Co., 463 U.S. 29, 43 (1983) (“State Farm”) (emphasis added). And

where, as here, a policy change implicates serious reliance interests, the agency must provide an

even “more substantial justification” for its actions. Perez v. Mortgage Bankers Ass’n, 575 U.S.

92, 106 (2015). An agency acts arbitrarily and capriciously when, among other factors, it “entirely

fail[s] to consider an important aspect of the problem,” or “offer[s] an explanation for its decision

that runs counter to the evidence before the agency, or is so implausible that it could not be ascribed

to a difference in view or the product of agency expertise.” State Farm, 463 U.S. at 43.




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       Under these standards, the Religious and Moral Exemption Rules must be held unlawful

and set aside. The Rules are neither “reasonable [nor] … reasonably explained.” Nat’l Telephone

Co-op. Ass’n v. FCC, 563 F.3d 536, 541 (D.C. Cir. 2009). There is no “rational connection”

between the scope of the exemptions adopted by the Rules and the problem the agencies set out to

address. Little Sisters, 140 S. Ct. at 2383 (Kagan, J., concurring in the judgment). The Departments

failed to provide a reasonable explanation for their refusal to pursue alternative policies that would

have addressed religious and moral objections to the contraceptive mandate, as modified by the

accommodation, while avoiding undue harm to women. See City of Brookings Mun. Telephone

Co. v. FCC, 822 F.2d 1153, 1169 (D.C. Cir. 1987) (“It is well settled that an agency has a duty to

consider responsible alternatives to its chosen policy and to give a reasoned explanation for its

rejection of such alternatives … The failure of an agency to consider obvious alternatives has led

uniformly to reversal.”) (quotations omitted). And, in so doing, the Departments also failed to give

adequate consideration to the reliance interests of the tens of thousands of women who stand to

lose contraceptive coverage because of the Rules. See Dep’t of Homeland Security v. Regents of

the Univ. of Cal., 140 S. Ct. 1891, 1913-15 (2020) (agencies must account for reliance interests

and weigh them against competing policy priorities). Taken alone or in combination, these

interrelated defects make the Rules arbitrary and capricious. Id.

       A. The Departments Adopted Overbroad Exemptions that Are Not Tailored to the Scope
          of the Problem the Agencies Sought to Address.

       An agency “flunks” the arbitrary and capricious test “when it has failed to draw a ‘rational

connection’ between the problem it has identified and the solution it has chosen, or when its

thought process reveals a ‘clear error of judgment.’” Little Sisters, 140 S. Ct. at 2398 (Kagan, J.,


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concurring in the judgment) (quoting State Farm, 463 U.S. at 43). That is precisely what the

Departments have done in promulgating the Religious and Moral Exemption Rules. The Rules’

sweeping exemptions go far beyond what “reasoned judgment” would support. Id. at 2399.

       The Departments purported to adopt the Religious Exemption Rule in order to “avoid

instances where the [contraceptive] Mandate [or accommodation] is applied in a way that violates

… religious beliefs,” and to “bring to a close the more than five years of litigation over [Religious

Freedom Restoration Act (“RFRA”)] challenges to” the mandate and accommodation. 83 Fed.

Reg. 57542, 57545. Elaborating in this Court, the Departments explained that they issued the Rule

to address the “serious religious objections” that “the accommodation still substantially burdened

the religious exercise of some objecting entities” and to “resolve” the “years of litigation” brought

by those entities. Defts.’ Mem. in Support of Mot. to Dismiss & Cross-Mot. for Summ. J. (ECF

Doc. No. 122), at 1 (“Defts.’ Br.”). But despite the narrow scope of the issue the Departments

purportedly wished to address, the Departments did not craft rules that merely exempted employers

that had a “religious objection to the status quo”—that is, those employers, like Little Sisters, that

believed the accommodation rendered them complicit in the provision of contraceptive coverage.

Little Sisters, 140 S. Ct. at 2398-99 (Kagan, J., concurring in the result). Instead, they “exempted

all employers with objections to the mandate, even if the accommodation met their religious

needs.” Id. (emphasis added). Their rule thus creates an exemption for any nonprofit organization;

any closely held for-profit entity; any for-profit entity that is not closely held, including any

publicly traded corporation; any other non-governmental employer; any institution of higher

education; and any health insurance issuer offering group or individual insurance coverage, so long

as the entity has “sincerely held religious beliefs opposed to coverage of some or all contraceptive

or sterilization methods encompassed by HRSA’s Guidelines.” 83 Fed. Reg. 57537, 57558-66.



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       The Moral Exemption Rule suffers from a similar mismatch between the scope of the

problem, as stated by the Departments, and the scope of the rule they adopted. In the Rule, the

Departments explained that they are “aware of” only three “small nonprofit organizations” that

had, through litigation or public comment, voiced a moral objection to providing their employees

with contraceptive coverage. 83 Fed. Reg. 57626-27. 2 They acknowledged that they were “not

aware of” any institution of higher education that had asserted a non-religious, moral objection to

provision of contraceptive coverage. Id. Nor were they aware of any for-profit entities that had

done so. 83 Fed. Reg. 57626-27. But despite “reiterat[ing] the rareness of instances in which we

are aware that employers assert nonreligious objections to contraceptive coverage based on

sincerely held moral convictions,” 83 Fed. Reg. 57628, the Departments chose to adopt sweeping

exemptions—effectively risking the contraceptive coverage and health of women nationwide—

based on the supposition that additional objecting employers “might come into existence,” id. at

57626. In other words, to address objections raised by three non-profit organizations—one of

which had already secured a permanent injunction and so would “not be affected by the … final

rule,” id.—the Departments created exemptions that cover any nonprofit organization; any for-

profit entity that has no publicly traded ownership interests; any institution of higher education;

and any health insurance issuer offering group or individual insurance coverage. 83 Fed. Reg.

57593, 57614-24. And as with the exemptions in the Religious Exemption Rule, the moral

exemptions are not limited to employers with complicity-based objections to the accommodation,




   2 Those entities were March for Life, Americans United for Life, and Real Alternatives. Each
is a nonprofit organization. See 83 Fed. Reg. 57626-27; Americans United for Life, Give,
https://aul.org/give/.

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but are instead available to any entity with an objection to the contraceptive mandate. Id.3

       This is not reasoned decision making. See Delaware Dep’t of Nat. Resources & Envtl.

Control v. EPA, 785 F.3d 1, 17-18 (D.C. Cir. 2015) (regulation that was not tailored to address the

identified problems was arbitrary and capricious). The Rules are, instead, an overbroad “solution

in search of a problem.” Nat’l Fuel Gas Supply Corp. v. FERC, 468 F.3d 831, 837 (D.C. Cir. 2006)

(Kavanaugh, J.). And for that reason alone, the Rules should be declared unlawful and set aside.

       B. The Departments Failed to Give Meaningful Consideration to More Limited Rules and
          Disregarded the Serious Reliance Interests of Tens of Thousands of Women.

       When an agency rescinds or revises existing regulations, it must provide a “reasoned

analysis” justifying its change in position. Regents of the Univ. of Calif., 140 S. Ct. at 1913. This

analysis must explore significant alternatives to the agency’s chosen course of action—including

making “more limited” changes to existing policy—and provide a reasoned explanation for

rejecting them. See Nat’l Shooting Sports Foundation, Inc. v. Jones, 716 F.3d 200, 216 (D.C. Cir.

2013); see also Regents of the Univ. of Calif., 140 S. Ct. at 1913 (“reasoned analysis” must include

consideration of more limited alternatives “within the ambit of the existing policy”).

       In promulgating the Religious and Moral Exemption Rules, the Departments had a

particular responsibility to explore alternatives that would limit harm to women. The contraceptive

mandate is premised upon overwhelming evidence demonstrating that contraception is an effective

and necessary component of women’s health care. See Little Sisters, 140 S. Ct. at 2399 (Kagan, J.,

concurring in the judgment). The Departments’ decision to leave the mandate (and the findings

that undergird it) in place “committed them … to minimizing the impact on contraceptive




   3  While the Departments assert that the three non-profit entities discussed above object to both
the mandate and the accommodation, they acknowledge that not all entities covered by the Rule
will do so. See 83 Fed. Reg. 57624.
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coverage, even as they sought to protect employers with continuing religious objections.” Id.

Further, as the Departments went about revising the regulations, they were obliged to give detailed

consideration to the reliance interests of women who stood to lose contraceptive coverage, and to

“weigh” these interests against competing policy objectives. Regents of the Univ. of Cal., 140 S.

Ct. at 1915; see also FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009) (an agency

must provide a “more detailed justification” for a change in policy that implicates serious reliance

interests).

        The Rules fall well short of these standards. The Departments effectively “sidestepped

[their] responsibility to consider reasonable alternatives” and promulgated Rules that inflict undue,

unreasonable, and gratuitous harm on women and their families. Delaware Dep’t of Natural

Resources, 785 F.3d at 18.

        1. The Rules Implicate the Serious Reliance Interests of Tens of Thousands of Women.

        The expanded exemptions created by the Rules will cause “serious harm” to women who,

for years, have relied upon the mandate for access to contraceptive care and services. Little Sisters,

140 S. Ct. at 2399 (Kagan, J., concurring in the judgment). The record establishes—and the

Departments do not dispute—the critical importance of contraceptive coverage for women. See id.

(“Rather than dispute HRSA’s prior finding that the mandate is necessary for women’s health and

well-being, the Departments left that determination in place.”); see also California v. Health &

Human Servs., 351 F. Supp. 3d 1267, 1296 (N.D. Cal. 2019) (“The Rules provide no new facts

and no meaningful discussion that would discredit [the Department’s] prior factual findings

establishing the beneficial and essential nature of contraceptive healthcare for women.”); 83 Fed.

Reg. 57554 (“The Departments do not take a position on the scientific … [or] empirical

question[s]” concerning contraception). According to the Departments’ own analysis, however,



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between approximately 70,500 and 126,400 women who were entitled to coverage under the prior

regulations will lose that coverage as result of the Rules. See 83 Fed. Reg. 57578-581 (Religious

Exemption Rule estimate); 83 Fed. Reg. 57627 (Moral Exemption Rule estimate).4 Among other

hardships, these women will suffer increased contraceptive costs, decreased contraceptive choice,

loss of access to regular medical providers, and more unplanned and risky pregnancies. See 83

Fed. Reg. 57548, 57578, 57585 n. 123; 83 Fed. Reg. 57548 (discussing potential impacts and

summarizing comments on Rules); see also Priests for Life v. Dep’t of Health & Hum. Servs., 772

F.3d 229, 235 (D.C. Cir. 2014) (“The medical evidence prompting the contraceptive coverage

requirement showed that even minor obstacles to obtaining contraception led to more unplanned

and risky pregnancies, with attendant adverse effects on women and their families.”).

       The Departments’ attempts to dismiss these harms, and the corresponding reliance interests

of women, are unavailing. The Departments argue that, because they were under no obligation to

create the contraceptive mandate in the first place, the loss of contraceptive coverage does not



   4  As a mitigating factor, the Departments point to the fact that some women who lose coverage
will be able to secure replacement coverage outside of their normal healthcare network through
safety net programs, such as Title X clinics. See 83 Fed. Reg. 57548. But the Departments fail to
meaningfully engage with evidence and comments demonstrating that these programs cannot meet
existing needs and are poorly situated to replace coverage from employer-sponsored plans. See,
e.g., E. August et al., Projecting the Unmet Need and Costs for Contraception Services After the
Affordable Care Act, 106 Am. J. Pub. Health 334 (Feb. 2016), available
at https://ajph.aphapublications.org/doi/pdfplus/10.2105/AJPH.2015.302928 (reductions             in
funding for Title X will limit the number of patients that Title X-funded providers can serve;
Congress would have to increase funding for Title X by hundreds of millions of dollars to address
the existing need for publicly funded family planning services); K. Hasstedt, Why we cannot afford
to undercut the Title X national family planning program, 20 Guttmacher Policy Review 20-23
(2017), available at https://www.guttmacher.org/gpr/2017/01/why-we-cannot-afford-undercut-
title-x-national-family-planning-program (with its current funding level, Title X can serve only
one-fifth of the nationwide need for publicly funded contraceptive care); Comment of Essential
Access Health (Administrative Record: Disk 10, Page 0207048) (hereinafter “D10, 0207048)
(safety net providers “do not currently have the capacity to meet the needs of current enrollees and
[women who lose coverage as a result of the Rules]”).

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constitute a “burden” that they are obligated to consider. See, e.g., 83 Fed. Reg. 57548-49 (“If

some third parties do not receive contraceptive coverage from private parties who the government

cho[oses] … not to coerce, that result exists in the absence of government action—it is not a result

the government has imposed.”). As a matter of law, they are incorrect: the withdrawal of a benefit

conferred by discretionary agency action implicates the reliance interests of those who stand to

lose that benefit. See Regents of the Univ. of Calif., 140 S. Ct. at 1913-14 (addressing reliance

interests engendered by the Deferred Action for Childhood Arrivals program). The Departments

also assert that any harm to women who lose coverage is inconsequential because these women

“constitute less than .1% of all women in the United States.” 83 Fed. Reg. 57550; see also id. at

57551 n. 26, 57578. This assertion misses the point entirely. To begin, their figure is grossly

misleading. Only a fraction of “all the women in the United States” are women of childbearing

age; and only a fraction of this population uses contraception covered by the ACA. See 83 Fed.

Reg. 57575. By the Departments’ own estimates, 27% to 48% of all women who use covered

contraception and work for an objecting employer will lose the coverage they received under the

prior regulations as a result of the Religious Exemption Rule.5 In any case, the fact that there are

large numbers of Americans who will be unaffected by the Departments’ policy change is neither

unique nor relevant. It does not eliminate the agency’s obligation to “assess … and weigh” the

reliance interests of those who will be affected. Regents of the Univ. of Calif., 140 S. Ct. at 1913.




   5  The Rules indicate that there are approximately 262,425 women of childbearing age who use
covered contraception, work for employers with a known religious objection to contraception, and
received coverage under the prior regulations. See 83 Fed. Reg. 57575-76 (discussing “litigating
entities”); id. at 57577-78 (discussing “accommodated entities”). As discussed above, the
Departments estimate that between 70,500 and 126,400 women will lose coverage as a result of
the Religious Exemption Rule. See supra, at 9-10.

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       2. The Departments Failed to Give Meaningful Consideration to Alternative Policies
          that Would Have Addressed Religious and Moral Objections, While Limiting Harm
          to Women.

       Even “by the Departments’ own lights,” the Rules inflict gratuitous harm. See Little Sisters,

140 S. Ct. at 2399 (Kagan, J., concurring in the judgment). Rather than adopt expansive religious

and moral exemptions, the Departments could have pursued “significant and viable and obvious

alternatives” that would have addressed religious and moral objections to the mandate and

accommodation, while also limiting harm to women. District Hosp. Partners, L.P. v. Burwell, 786

F.3d 46, 60 (D.C. Cir. 2015). The Departments failed to give these alternatives serious

consideration and fell far short of providing a reasonable—much less substantial—justification for

not pursuing them. See City of Brookings Mun. Telephone Co., 822 F.2d at 1169 (agency must

provide a “reasoned explanation” for rejecting “reasonable alternatives”); Perez, 575 U.S. at 106

(“the APA requires an agency to provide more substantial justification when its prior policy has

engendered serious reliance interests that must be taken into account”).

       First, as Justice Kagan’s concurrence notes, the Departments could have limited

exemptions to employers with complicity-based objections to the accommodation.6 Doing so



   6  The Departments could have implemented this alternative in several ways. They could have
created exemptions for the particular entities that have asserted complicity-based objections to the
accommodation. The Departments have detailed information about the identity of these entities.
For example, with respect to religious objections, “[i]n their Regulatory Impact Report, the
Departments … included spreadsheets listing either litigating employers or employers currently
using the Accommodation that the Departments flagged could switch to the expanded exemption.”
Massachusetts v. U.S. Dep’t of Health & Human Servs., 923 F.3d 209, 217 (1st Cir. 2019). These
lists identified, with particularity, those employers with complicity-based objections to the
accommodation. See id. at 224 (describing the “spreadsheet listing litigating entities likely to use
the expanded exemptions”). Alternatively, the Departments could have exempted any employer
that submitted a notice of its sincere religious or moral objection to the accommodation. See Tr. at
29, Little Sisters of the Poor Saints Peter and Paul Home v. Pennsylvania (No. 19-431) (Little
Sisters have no “objection to simply objecting” in order to acquire an exemption). Or, the
Departments could have drafted the regulations to make exemptions available only “to the extent”


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would have directly responded to the litigation that spawned the Rules.7 See Little Sisters, 140

S. Ct. at 2376 (the expanded exemptions represent the Departments’ most recent attempt to

“comply with Zubik”); see also 83 Fed. Reg. 57561 (the expanded religious exemptions are the

“appropriate administrative response … to the litigation challenging [the contraceptive

mandate]”); 83 Fed. Reg. 57602 (discussing litigation by non-religious entities). Yet the

Departments never squarely considered this alternative. Instead, they summarily dismissed any

approach that did not provide uniform exemptions to all employers on the ground that they wanted

to “avoid inconsistency in respecting religious objection in connection with the provision of

contraceptive coverage.” 83 Fed. Reg. 57542 (acknowledging and responding to public comments

objecting that the expanded exemptions were “too broad”). But such a “vague desire for

uniformity” is no substitute for reasoned analysis. See Delaware Dep’t of Nat. Resources, 785 F.3d

at 17. Moreover, treating employers with different objections differently is not inconsistent; it is

“reasoned judgment.” Little Sisters, 140 S. Ct. at 2399 (Kagan, J., concurring in the judgment).

        Second, the Departments could have “expand[ed] or adjust[ed] the accommodation” to

address employers’ complicity-based objections. 83 Fed. Reg. 57542 (acknowledging comments

to Religious Exemption Rule); 83 Fed. Reg. 57604 (acknowledging comments to Moral


an employer has a sincere religious or moral objection to the accommodation. See 83 Fed. Reg.
57558 (discussing the use of this limiting language elsewhere in the regulations).
   7  The Departments’ own analysis suggest that this alternative would significantly reduce the
number of women who will lose coverage. In the Rules, the Departments estimated that most
women who lose contraceptive coverage will do so because their employers will switch from using
the accommodation to an exemption. 83 Fed. Reg. 57578 (estimating this number at 64,000).
Given that these employers were previously using the accommodation without objection, it seems
likely that few had complicity-based objections to the process. See id. (explaining that “the
Departments assume there is no overlap between” entities that are using the accommodation and
entities that have been involved in litigation involving the mandate or accommodation); see also
82 Fed. Reg. 47819 (noting that there were few barriers to litigating objections to the
accommodation including because “multiple public interest law firms public [offered to provide
pro bono] … legal services for entities willing to challenge the Mandate”).

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Exemption Rule). The Departments rejected this alternative based upon their prior conclusion

(from 2017) that is not possible to create an accommodation that provides “seamless” coverage for

women and “eliminate[s] the … objections of all [employers].” 83 Fed. Reg. at 57544; see also 83

Fed. Reg. 57604 (addressing moral objections). But circumstances have changed, rendering this

standard inapposite. The Departments have abandoned their earlier commitment to ensuring that

women receive “seamless” coverage, id. at 57548; instead, they have promulgated Rules that will

deprive tens of thousands of women of any coverage. See supra, at 9-10. The issue the Departments

should have considered, then, is whether the accommodation can be altered in such a way as to

satisfy some employers objections so that some women may retain coverage.8 The Rules indicate

that the answer to this question is yes, as does the evidence in the record and the history of litigation

concerning the mandate. See 83 Fed. Reg. 57545-46 (alternatives to the accommodation “would

likely violate some”—not all or even most— “entities’ religious objections”).

        In Priests for Life v. U.S. Dep’t of Health & Human Servs., for example, then-Judge

Kavanaugh suggested changes to the accommodation that would address many employers’

objections. See 808 F.3d 1, 23-24 (D.C. Cir. 2015) (Kavanaugh, J., dissenting) (the

accommodation can be altered in ways that “lessen” complicity objections). Under his proposal,

an objecting entity could “submi[t] a simple notice to the Secretary of Health and Human Services

in writing that it is a nonprofit organization that holds itself out as religious and has religious

objections to providing coverage for contraceptive services … [From there], the Government can

independently determine the identity of the organizations’ insurers and thereby ensure that …

[they] provide contraceptive coverage.” Id. (Kavanaugh, J., dissenting) (arguing that, based on


    8To be clear, the Departments could have combined this alternative with the one above,
exempting any employers who continued to assert complicity-based objections to an altered
accommodation.

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Wheaton College v. Burwell, 573 U.S. 958 (2014), and Little Sisters of the Poor Home for the Aged

v. Sebelius, 571 U.S. 1171 (2014), the simple notice option was a less restrictive alternative to the

accommodation that would have satisfied RFRA). Judge Kavanaugh noted that, “to be sure, some

religious organizations” might still object to this process, but he clearly understood (based on the

plaintiffs’ representations and the briefing) that the number would be reduced.9 The oral argument

in Little Sisters supports this understanding. Counsel for Little Sisters repeatedly confirmed that

the organization had no “objection to simply objecting,” or to the government independently

arranging for insurers to provide coverage directly to their employees. Tr. at 29, Little Sisters of

the Poor Saints Peter and Paul Home v. Pennsylvania (No. 19-431) (explaining that the Little

Sisters would have no objection to “just … an opt-out form, an objection form”).

       There were other options still. For example, some employers have acknowledged that their

complicity-based objections to the accommodation would be eliminated if employees were

required to affirmatively request coverage from insurers. See, e.g., Univ. of Notre Dame v. Burwell,

786 F.3d 606, 612 (7th Cir. 2015) (the University would have “no problem” with a system in which

“each of its female employers [and students] signed and mailed … a form [to its insurer or third

party administrator] saying ‘I have insurance through Notre Dame, but the university won’t cover

contraceptive services, so now you must cover them.’”). Similarly, in connection with the Zubik

remand, the Departments determined that the use of “separate enrollment cards” for contraceptive

coverage would resolve additional objections to the accommodation. See U.S. Dep’t of Labor,


   9 Judge Kavanaugh also strongly suggested that any remaining objections would not rise to the
level of a “substantial burden” under RFRA, such that no additional exemption would be necessary
or appropriate. See Priests for Life, 808 F.3d at 26 (Kavanaugh, J., dissenting) (“The Government
may of course continue to require the religious organizations insurers to provide contraceptive
coverage to the religious organizations’ employees, even if the religious organizations object …
RFRA does not authorize religious organizations to dictate the independent actions of third-parties,
even if the organization sincerely disagrees with them”) (quotations omitted).

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FAQS About Affordable Care Act Implementation Part 36, at 11 (Jan. 9, 2017) (D9, 2017 Moral

IFR Supp. Docs., No. 8, 666657) (“Under this approach, women … would receive a separate

enrollment card that would be automatically activated … [when a woman] attempts to obtain

contraceptive benefits”).10

        Third, the Departments could have decoupled the Religious and Moral Exemption Rules

and provided more limited exemptions, or just the accommodation, for entities with moral

objections to the contraceptive mandate. See 83 Fed. Reg. 57603 (acknowledging public comments

arguing that no moral exemptions should be provided; that the expanded moral exemptions are

“too broad”; and that only an accommodation should be provided for moral objections). The

Departments rejected this alternative in order to “avoid the stark disparity that may result from

respecting religious objections … but not respecting parallel objections for moral convictions …

at all.” 83 Fed. Reg. 57603. The Departments dedicated an entire section of the Rule to discussing

“statements of Congress … statutes … and Supreme Court precedent” that, they argued, support

providing equal treatment for religious and moral objections. Id. at 57598-57602. But none of these

statements, statutes, or precedents even arguably applies to the contraceptive mandate. The only

law that does apply—RFRA—does not provide equal treatment for religious and moral

convictions. See Little Sisters, 140 S. Ct. at 2400 (Kagan, J., concurring in the judgment). The

Departments’ argument, then, collapses back in on itself. Rather than simply duplicating the

religious exemptions “in … [the moral] context,” the Departments “should have weighed anew …



   10 Justice Alito appears to have picked up on this in his concurring opinion in Little Sisters, in
which he identifies an option in which the government would send “a special card that could be
presented at a pharmacy to fill a prescriptions for contraceptives without any out-of-pocket
expense.” Little Sisters, 140 S. Ct. at 2393; see also Tr. at 40-41, Little Sisters of the Poor Saints
Peter and Paul Home v. Pennsylvania (No. 19-431) (Little Sisters would have no objection to an
approach in which insurance companies were required to reimburse employees for expenses).

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the benefits of exempting more employers from the mandate against the harms of depriving more

women of contraceptive coverage.” Id.

       When the Departments decided to dramatically expand the pre-existing exemptions to the

contraceptive mandate, they were “not writing on a blank slate.” Regents of the Univ. of Calif.,

140 S. Ct. at 1915. Rather, they were required to take into account the reliance interests of women

who stood to lose coverage and give meaningful consideration to policy alternatives that would

limit harm to these women. See id. at 1914-15 (noting that the agency had “considerable

flexibility” and faulting the agency for failing to explore alternatives that were not “foreclosed or

even addressed” by the agency’s justification and would have “accommodat[ed] particular reliance

interests”); see also Little Sisters, 140 S. Ct. at 2399 (Kagan, J., concurring in the judgment). The

Departments’ failure to take these steps, necessary as they are for reasoned decision-making,

renders the Religious and Moral Exemption Rules arbitrary and capricious.

III.   The Final Rules Violate the Establishment Clause.

       The Religious Exemption Rule also violates the Establishment Clause. In Little Sisters, the

Court held that the Departments have authority under the ACA to create exemptions to the

contraceptive mandate. The majority did not address the separate question of whether the

Departments have exercised that authority in a constitutional manner. See Little Sisters, 140 S. Ct.

at 2382 n. 10. And indeed, the Departments have not. The Rule serves no valid secular purpose

and has the impermissible effect of giving employers a religious veto over employees’ access to

health care. See ECF Doc. No. 116 (“Pl. Br.”) 35-39; ECF Doc. No. 127 (“Pl. Reply Br.”) 19-24.

“In order to perceive government action as permissible [under the Establishment Clause] … there

must in fact be an identifiable burden on the exercise of religion that can be said to be lifted by the

government action.” Corp. of Pres. Bishop of Church of Jesus Christ of Latter-Day Saints v. Amos,



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483 U.S. 327, 348 (1987) (O’Connor, J., concurring in the judgment). But the Departments have

conceded that many, if not most, of the employers eligible for the expanded exemptions created

by the Rule have no cognizable religious objection to the prior regulations—and more specifically,

the accommodation. See Little Sisters, 140 S. Ct. at 2398 (Kagan, J., concurring in the judgment).11

           Rather than lifting a burden on religious exercise, the Religious Exemption Rule instead

grants these employers license to “impose the[ir] … religious faith on the[ir] employee[s].” United

States v. Lee, 455 U.S. 252, 260-61 (1982); see also 77 Fed. Reg. 8728 (exempting objecting

employers would “subject … employees to the religious views of the[ir] employer”). For example,

the record establishes that some religious employers oppose any program that has “the purpose or

effect of providing access to or increasing the use of contraceptive services.” U.S. Dept. of Labor,

FAQS About Affordable Care Act Implementation Part 36, at 7 (Jan. 9, 2017) (D9, 2017 Moral

IFR Supp. Docs., No. 8, 666653). Under the Rule, an objecting employer that held this position

could decline to “opt in” to the accommodation, and claim an exemption, not because of any

complicity-based burden on their own religious exercise, but simply to deter employees from using

contraception. Whether or not any employer chooses to use the Rule to advance “explicitly

religious goals” in this way, it is unconstitutional for the Departments to grant them the power to

do so in the first instance. Larkin v. Grendel’s Den, Inc., 459 U.S. 116, 125 (1982).

IV.        The Final Rules Violate the Equal Protection Clause.

           The Religious and Moral Exemption Rules also violate the equal protection guarantee of

the Fifth Amendment to the Constitution. See Pl. Br. 39-42; Pl. Reply Br. 24-27. Because the Rules

insert a “gender-based or gender-biased disparity,” Sessions v. Morales-Santana, 137 S. Ct. 1678,



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       For this reason, this Court need not reach the question of whether the accommodation
imposed a substantial burden or satisfied RFRA with respect to other employers. See Pl. Br. 27-
35; Pl. Reply Br. 12-16.
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1690 (2017) (cleaned up), into the ACA’s preventive services requirement, they are subject to

heightened scrutiny. See Joyce v. Town of Dennis, 705 F. Supp. 2d 74, 79-80 (D. Mass. 2010)

(Gorton, J.), remanded on other grounds, 720 F.3d 12 (1st Cir. 2013) (once a facial disparity is

identified, the court “proceeds to analyze the defendants’ justifications” under heightened

scrutiny). The fact that the Rules go well beyond what is necessary to relieve any alleged burden

on religious or moral beliefs, see supra, at 12-17, forecloses any argument that the they satisfy the

“close means-end fit required to survive heightened scrutiny.” Morales-Santana, 137 S. Ct. at

1696-97.

                                         CONCLUSION

       For the foregoing reasons, and for the reasons stated in the Memorandum in Support of the

Commonwealth’s Motion for Summary Judgment, and Combined Memorandum in Opposition to

Defendants’ Motion to Dismiss or Cross-Motion for Summary Judgment, the Commonwealth’s

Motion for Summary Judgment should be granted with respect to the three claims addressed above.

                                              Respectfully submitted,

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                                              By its attorneys,

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                                CERTIFICATE OF SERVICE

        I certify that this document filed through the CM/ECF system will be sent electronically to
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will
be sent to those indicated as non-registered participants on September 29, 2020.

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